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                            UNITED STATES DISTRICT CO URT
                            SO UTH ERN DISTRICT OF FLORIDA
                              CA SE NO :20-21108-CV-UN GARO

LOGAN ALTERS,M ARTA M YES, eta1.,

            Plaintiff,



 PEOPLE'S REPUBLIC OF CHW A , eta1.,

             Defendant.



      ORDER SETTING INITIAL PLANNING AND SCHEDULING CO NFERENCE


        THIS CAUSE ishereby setting foran InitialPlanning and Scheduling Conferencebefore

 theHonorableUrsulaUngaro, attheUnited StatesCourthouse 400N .M iamiAvenue,12th Floor
                                                             ,                                      ,

 Courtroom 4,M iami,Florida, on M AY 1,2020 at9:30 A.M .

       CounselforthePlaintiffts)isinstructed to providecopiesofthisorderto a11counselof
 record and to any unrepresented partiesthathaveappeared in the case. Pursuantto Fed.R.CiV.P.

26(9 andLocaiRule16.1B,thepartiesarejointlyresponsibleforconfeningtodevelopaproposed
discoveryplan;thereafter, thepartiesareto file and serveaJointPlanning and SchedulingReport
                                                                                                ,

togetherwith aproposed SchedulingOrder, andanattachedservicelistincludingtheparties'nam es
                                                                                                ,

phonenum bersand facsim ilenum bers. Thereportandproposed ordermustbefiledby APRIL 17
                                                                                                ,

2020 andm ustrecitethefollowing:

              A plain statem entofthenatureoftheclaim and any counterclaim s cross-claim s,or
                                                                            ,
              third-party claim,including the amountofdamages claim ed and any otherrelief
              sought.

       2.     A briefsum m ary of the facts w hich are uncontested or w hich can be stipulated to
              w ithoutdiscovery.
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               A briefsum mary oftheissuesaspresentlyknown.

        4.     W hetherdiscovery should beconducted in phasesorlim ited to particularissues.

               A detailed scheduleofdiscovery foreachparty.

               Proposeddeadlinesforjoinderofotherpartiesandtoamendthepleadings, tofileand
               hearm otionsand to completediscovery.

               Proposed approximatedatesforfinalpre-trialconferencesandtrial.

        8.    Theprojectedtimenecessaryfortrialandastatementofwhetherthecaseisjuryor
              non-jurytrial.
        9.    A listofa11pendingm otions, whethereach motionisCtripe''forreview , thedateeach
              motionbecam eripe,andasum mary oftheparties'respectivepositionswith respect
              to each ripe m otion,

        10.   Any
              C uniquelegalorfactualaspectsofthecaserequiring specialconsideration bythe
                ourt.

              Any potentialneed forreferencestoa specialm asterorm agistrate.

              The statusand likelihood ofsettlem ent.

              Such
              i otherm attersasarerequired by LocalRule 16. 1(B)andasmayaidtheCourt
               n setting the case forstatusorpretrialconference and in the fairand expeditious
              adm inistration and disposition ofthisaction.

                                   SERVICE O F PRO CESS
       N o- ithstanding the provisions ofFederalR ule ofC ivilProcedure 4 the Plaintiff is
                                                                            ,
ordered to serveand filereturnsofservice on allDefendantsprom ptly and atleast no later
than 14 dayspriorto thePlanning and Scheduling Conference. ln the eventany D efendant
rem ainsunserved by thatdate,Plaintiff m ustinclude in the JointPlanning and Scheduling
R
  eporta detailed explanation sufficientto show good cause for the failure to effe
IfPl                                                                              ct service.
    aintifffailsto provide a sufficientexplanation, theunsen ed D efendantw illbe dism issed
from the action w ithoutfurther notice.

                    ELE CTR O NICA LL Y STO RED INFO R M A TIO N
      lfthepartiesanticipatethatelectronicallystoredinformation(''ES1'')willberelevanttothe
parties'claims and defenses,they m ust engage in discussions and arrive at a pl
                                                                              an,which is
proportionalandreasonableinrelationtothenatureandcom plexityofthecase forthepreservation
                                                                       ,
identiication,andproductionofESI. Theplanshallbeseparatelysubm ittedtotheCourtatthetime,


                                             2
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  offiling theproposed Scheduling OrderforCourtapproval.
          ln form ulating aplan,the partiesshallinclude, ifnecessary tothe case theirstipulation
                                                                               ,
  re
  figa rdi
         ng  the specification ofthe form ats in which docum entsare to be produced,the m etadata
    elds,ifany,thatwillberequested, them ethodsby which responsivedocum entswillbeidentised
  the procedurestheywillemploy toprotectclaimsofprivilege, and otherrequirem ents                 ,
                                                                                       , conditions
  orprovisionsthatthepartiesbelievearenecessarytofacilitateandexpediteESldocum entdiscovery.

         W ith respectto initialdisclosuresrequired underFed. R.Civ.P.26(a)(1)-(2),pursuantto

  Rule26(a),thedisclosuresmustbemadeatorbeforethetimethepartiesconferto develop the
  discoveryplan. Thepartiesm ustcertify in theJointScheduling Reportthatsuch disclosureshave

 beenmadeunlessapartyobjectsduringtheconferencethattherequireddisclosurets)isnot
 appropriateinthecircumstancesoftheactionandfilesanobjectiontothespecificdisclosurets)with
 theCourt.Suchobjectionsmustbefilednolaterthanfifteen(15)dayspriortothelnitialPlnnning
 and Scheduling Conferenceand m ustincludea fullexplanation ofthe basisforthe
                                                                                   objections.
        ln theeventthatm otionsarepending beforetheCourtatthetime ofthe Conference,the

 partiesshallbeprepared to argue, atthe Court'sdiscretion,them eritsofsuch motions.

        ln the event the C ourt issues a Scheduling O rder prior to the InitialPlanning and

 Scheduling Conference based on the inform ation provided by the parties in their Joint

 Planningand SchedulingReportytheCourtwillnotifythepartieswhethertheConferencewill

 be canceled.

        DONE AND ORDERED this              1       dayofMarch2020 atM iam i,Florida
                                                                ,                       .




                                            URSULA UNGARO
                                            UNITED STATES DISTRICT JUDGE
cc:allcounselofrecord
